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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA



      - against -                                No. 2:17-cr-0587 (JMA)

 CHRISTOPHER    MCPARTLAND          and
 THOMAS J. SPOTA,

                            Defendants.




   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANT
  CHRISTOPHER MCPARTLAND’S MOTION FOR A NEW TRIAL PURSUANT TO
  FEDERAL RULE OF CRIMINAL PROCEDURE 33 AND FOR AN EVIDENTIARY
                            HEARING




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                                 PRELIMINARY STATEMENT

       In our moving papers, we argued that Mr. McPartland (joined in by Mr. Spota) was entitled

to an evidentiary hearing because a preponderance of the evidence supports the conclusion that:

(1) James Hickey testified falsely at trial in several critical and highly material respects; (2) the

government was aware, or should have been aware, of that falsity; and (3) the government failed

to correct that testimony or to disclose its falsity to the defense. We relied on five critical aspects

of Hickey’s testimony, all of which appear to have been patently false, and all of which the

government knew, or should have known, were false. Specifically, Hickey testified that he:

               1. Witnessed a meeting in February 2013, during which Mr.
                  McPartland “coached” James Burke and became the “architect”
                  of the lies Burke should tell about the Loeb assault.

               2. Disclosed the “coaching” incident to the government at “the
                  very beginning of his cooperation.”

               3. Disclosed his hallucinations to the government at his very first
                  meeting with them – indeed, “before they even sat down.”

               4. Disclosed his hospitalization for alcoholism to the government
                  “in the early beginnings of his meetings with them.”

               5. Never falsely told the government, prior to the commencement
                  of trial, that he had no follow-up medical care of any kind from
                  his October 2015 hospitalization.

       In its opposition papers, the government largely ignores these serious allegations of falsity

and misconduct. It submits no affidavits or other evidence to suggest that Hickey’s statements –

as to what he told the government, and when – were actually true. It provides no explanation for

how Hickey seems to have remembered – apparently 4 years into his cooperation – that the

February 2013 “coaching” incident had purportedly taken place. It does not even address the

merits of defendants’ request for an evidentiary hearing, which is the centerpiece of the defense’s

motion.
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       Rather, the government appears to respond to a motion other than the one Mr. McPartland

actually filed. It relies on legal standards not applicable to Mr. McPartland’s Rule 33 motion, such

as its erroneous suggestion that the defense must show that Hickey’s testimony was “patently

incredible.” It both ignores and misstates the legal standards governing the actual claim made –

namely, that Hickey testified falsely and that the government knew or should have known of that

falsity. It attempts to turn the issue on its head by arguing, in essence (with no legal support), that

even if Hickey’s testimony was false, and even if the government knew or should have known of

that falsity, the burden was on the defense to prove that at trial by calling government agents as

witnesses.

       All of these arguments are unavailing, and only serve to underscore the palpable need for

an evidentiary hearing in this case to shine the light of day on what actually transpired here. Only

then can the Court properly assess whether Hickey testified falsely, whether the government was

aware or should have been aware of that falsity, and whether a new trial is therefore warranted.

Accordingly, the government’s arguments should be rejected and an evidentiary hearing ordered.

                                           ARGUMENT

                                                  I.

      THE GOVERNMENT FAILS TO RESPOND TO THE CRITICAL FACTUAL
                  QUESTIONS PRESENTED BY THIS MOTION

       In the face of the defense’s detailed factual recitation, the government stands largely mute.

It does not submit any affidavits, exhibits or even arguments suggesting that this testimony from

Hickey was true. It does not dispute any of the facts set forth in the Krantz Affidavit (“Krantz

Aff.”), particularly as to defense counsel’s prior conversations with the government. Moreover, it

inexplicably refers to the omission of any of these statements from Hickey’s 3500 material

(including interview reports from 17 sessions over 4 years) and two detailed search warrant



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applications as “of no moment factually or legally.” Opp. Br. at 2. The government chooses to

sweep that evidence aside because it apparently has no answer to the question of how Hickey’s

testimony could possibly have been true, when considered in light of that 3500 material, the

government’s prior conversations with defense counsel, the prior notes of Hickey himself

(including in his calendars), the prior notes of Hickey’s counsel, the government’s prior

submissions to the Court, and the testimony of two other cooperators who describe an entirely

different genesis of the Burke cover story (one that excludes Mr. McPartland’s participation).

Simply put, the government resorts to burying its head in the sand and asks the Court to do the

same.

        One would have hoped that, as in many similar cases, the government would have taken

these allegations seriously, including through responsive affidavits and further investigation of the

facts.1 Instead, the government’s silence is deafening, just as its silence in response to the three



1
        See, e.g., United States v. Moore, 54 F.3d 92, 100 (2d Cir. 1995) (the government’s
response to defendant’s motion for a new trial included an affidavit from a DEA Special Agent);
United States v. Pavloyianis, 996 F.2d 1467, 1471 (2d Cir. 1993) (the government disclosed to the
defense and the court, post-trial, that the witness had perjured herself and, on eve of a hearing as
to what the government knew or should have known, and following the personal intercession of
the then-U.S. Attorney, consented to the defendant’s Rule 33 motion); United States v.
Schlesinger, 438 F. Supp. 2d 76, 94 (E.D.N.Y. 2006) (in opposing the defendant’s Rule 33 motion
after conducting an investigation into the allegations, the government attached affirmations by the
agents involved in the investigation and the attorneys involved in the prosecution); United States
v. Damblu, 945 F. Supp. 672, 674 (S.D.N.Y. 1996) (the government acknowledged having
investigated the defendant’s allegations of perjury); United States v. Gibson, No. 91-CR-669
(PNL), 1993 U.S. Dist. LEXIS 2684, *6-7 (S.D.N.Y. Mar. 9, 1993) (the government, post-trial,
continued investigating the possibility its witness had perjured himself with regard to his
background, including through questioning of the witness, and ultimately conceded the perjury).
In the lead United States v. Wallach case, reported at 935 F.2d 445, 457 (2d Cir. 1991), and 979
F.2d 912, 914 (2d Cir. 1992), the government investigated mid-testimony the possibility that its
lead witness had perjured himself, questioning him “extensively” and conducting other interviews.
See also United States v. Ng Lap Seng, No. 15-CR-706 (VSB), 2018 U.S. Dist. LEXIS 83441, *20-
21 (S.D.N.Y. May 9, 2018) (where similarly, mid-testimony, the government took steps to
investigate alleged perjury).



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separate Brady/Giglio requests from the defense on these exact subjects, including during Hickey’s

testimony, immediately after that testimony, and the night before the defense rested. See Krantz

Aff. ¶¶ 14-15. But its silence is not an adequate response – particularly when someone’s liberty is

at stake – and only punctuates the need for an evidentiary hearing to address the following critical

questions, at a minimum:

           1. How is it that the government elicited testimony from Hickey as to
              a key alleged meeting with Mr. McPartland in February 2013,
              during which he supposedly “coached” Burke and became the
              “architect” of Burke’s lies, when that allegation: (a) does not appear
              in the interview notes of any of Hickey’s 17 meetings with the
              government (meetings that took place for almost 4 years prior to
              trial); (b) does not appear in Hickey’s calendars (which Hickey
              himself claimed was an authoritative source for meetings and other
              important dates), or in his own notes (provided to his counsel at the
              commencement of his cooperation); (c) does not appear in his
              attorney’s detailed notes of his (and his colleagues’) meetings with
              Hickey (notes used by his counsel as the basis for an attorney’s
              proffer to the government at the commencement of Hickey’s
              cooperation in late 2015); (d) does not appear in either of the
              government’s two search warrant applications, dated September 15,
              2016 and April 21, 2017 (applications that purport to summarize the
              evidence against Mr. McPartland and refer specifically to
              information provided by Hickey); (e) was not included in any of the
              government’s pre-trial submissions or discovery disclosures; and (f)
              was inconsistent with the testimony of two other cooperating
              witnesses – each of whom testified to a genesis of the Burke cover
              story that did not include Mr. McPartland?

           2. When did Hickey first make the allegation of a February 2013
              “coaching” meeting, and what steps, if any, did the government take
              to understand why Hickey had not made this pivotal allegation for
              what appears to have been several years?

           3. How is it that Hickey claimed, on cross-examination, to have
              informed the government of this critical allegation “at the very
              beginning” of his cooperation, when: (a) it is absent from any of the
              government’s interview notes (which surely would have recorded
              and recited such an important accusation); and (b) it is absent from
              his own attorney’s notes, which, according to Hickey’s lawyer, were
              read to the government as part of his “lawyer’s proffer” at the
              commencement of Hickey’s cooperation in late 2015?



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           4. How is it that Hickey claimed, on cross-examination, to have
              disclosed his hallucinations to the government at their first meeting,
              “before they even sat down,” when: (a) that allegation is not
              reflected in any of the government’s interview notes; (b) the
              government informed (falsely, as it turns out) defense counsel for
              years that this allegation (i.e., that Hickey had hallucinations) was
              not true, and was merely a “rumor” manufactured by Burke, see
              Krantz Aff. ¶ 19; and (c) the government did not even ask Hickey to
              obtain his hospital records until 2018, after the defense had
              independently learned of his hospitalization and demanded that the
              government produce them?2

           5. How is it that the government elicited testimony from Hickey that
              he had never been asked, prior to trial, if he had visited any medical
              doctors following his October 2015 hospitalization, when: (a) an
              AUSA specifically told defense counsel, in August 2019, that she
              had asked Hickey this precise question, and that he had answered
              that he “was prepared to testify under oath” that he had not seen any
              doctors at all, for any reason, after his October 2015 hospitalization
              (with the possible exception of a visit to an eye doctor); (b) this
              conversation between the AUSA and defense counsel was
              memorialized in an e-mail from defense counsel, the substance of
              which was “confirmed” by the AUSA in a responsive e-mail; and
              (c) this conversation was memorialized in a pre-trial brief submitted
              by the defense, with no refutation by the government?

           6. How is it that Hickey testified, on cross-examination, that he
              informed the government about his hospitalization for alcoholism
              “in the early beginnings of meeting with them,” (which meetings
              began in December 2015) when: (a) that subject is not reflected in
              any of the government’s interview notes until April 11, 2018 (3500-
              JH-34), more than two years into his cooperation, and after specific
              request from the defense; (b) the government did not acknowledge
              this hospitalization to the defense – despite repeated requests – until
              June 10, 2019, several years into the case, and even then only after
              the defense had independently learned of the hospitalization and
              confronted the government with that information, see Krantz Aff.
              ¶ 18; and (c) the government did not ask Hickey to obtain his
              hospital records on this subject until 2018, nearly three years into

2
         The history of the government’s disclosures as to Hickey’s medical conditions and records
is set forth in the defense’s sealed letter to the Court dated August 8, 2019. ECF Dkt. No. 91. A
review of that history shows that it is entirely inconsistent with Hickey’s claim at trial that he told
the government about his hospitalizations for hallucinations or alcoholism at the very beginning
of his cooperation.



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               his cooperation, and only then upon the specific demand of the
               defense?

           7. How is it that the government advised defense counsel the night
              before the defense rested, in response to a direct inquiry as to what
              appeared to be glaring inconsistencies between Hickey’s trial
              testimony and his 3500 material, that “there was no Giglio
              disclosure to make,” Krantz Aff. ¶ 15, if it was aware of any falsity
              in Hickey’s testimony?

       Instead of answering any of these critical questions, the government resorts to one

boilerplate denial: “Hickey did not offer false testimony on any topic whatsoever.” Opp. Br. at 2.

But in the face of the defense’s specific allegations of falsity, coupled with ample evidence to

suggest that falsity, the government must do more than offer one unsworn, wholly conclusory

sentence as its response. In short, the government’s factual response is woefully inadequate to

resolve the questions raised by this motion and is reason alone to grant the defense’s request for a

hearing.

                                                II.

 THE GOVERNMENT FAILS TO RESPOND TO THE DEFENSE’S REQUEST FOR AN
                        EVIDENTIARY HEARING

       Not only is the government’s response silent on the key factual questions raised by this

motion, it also stands mute on the defense request for an evidentiary hearing. In fact, this request

– which was the centerpiece of the defense motion – is outright ignored by the government in its

response, other than to baldly assert, without any support whatsoever, that it should be denied.

The government proceeds as if the defense asks the Court to grant a new trial on the current record

alone, and then proceeds to attack that imagined argument. But that is not the defense’s request.

To the contrary, we submit that when our actual motion is considered, it will be clear that under

the facts presented in this case, and in the absence of any factual response at all, the law clearly

supports our request for a hearing.



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       Respectfully, the law entitling the defense to this hearing is well settled. It is a basic

principle that where, as here, a motion is brought pursuant to Rule 33 on claims of prosecutorial

misconduct, the Court may hold an evidentiary hearing “to resolve the disputed facts and to

develop the record on the materiality of the alleged Giglio material, as well as the government’s

actual or constructive knowledge of such information.” Schlesinger, 438 F. Supp. 2d at 95. Such

hearings are not unusual. Indeed, courts in this and other circuits have held that an evidentiary

hearing on a Rule 33 motion may not only be warranted, but also necessary to “flush out the truth

from behind the government’s veil and then determine what to do with it in the light of its

implications.” United States v. Bernal-Obeso, 989 F.2d 331, 333 (9th Cir. 1993); accord United

States v. Avellino, 136 F.3d 249, 261 (2d Cir. 1998) (district court has discretion to order an

evidentiary hearing where there is “any nonspeculative basis for inferring that … the government

had not made available to [the defendant] all pertinent material in its possession”); United States

v. Austin, No. 94-CR-737 (JBW), 1997 WL 43523, at *1 (E.D.N.Y. Jan. 27, 1997) (referencing

“full post-trial evidentiary hearing” on, among other things, the “failure of the government to

supply [defendant] with exculpatory evidence known to the government at trial”); United States v.

Block, No. 16-CR-595, Dkt. No. 208 (S.D.N.Y. Oct. 12, 2018) (granting an evidentiary hearing to

explore the factual disputes surrounding the defendant’s Rule 33 motion alleging the withholding

of Brady/Giglio information); Podlog v. United States, Nos. 97-CV-3292 (JFK), S2-92-CR-374

(JFK), 2003 U.S. Dist. LEXIS 8904, at *2 (S.D.N.Y. Apr. 22, 2003) (reflecting evidentiary hearing

on Rule 33 motion for new trial “to determine the issue of [the cooperating witness’] alleged

perjury”), aff’d, 2005 U.S. App. LEXIS 738 (2d Cir. 2005); United States v. Brown, No. 86-CR-

738 (CSH), 1987 U.S. Dist. LEXIS 6751, at *1 (S.D.N.Y. July 29, 1987) (ordering an evidentiary

hearing in connection with the defendant’s Rule 33 motion where the record “suggest[ed] at least




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the possibility of” perjured testimony by the government’s “principal witness”); cf. United States

v. LaGrua, Nos. 98-1323 (L), 98-1568, 1999 U.S. App. LEXIS 12091, at *13-14 (2d Cir. June 11,

1999) (no error in district court’s denial of evidentiary hearing where, inter alia, alleged perjured

testimony came from a “minor witness” whose “testimony was introduced only to provide partial

corroboration for that of other, more important, witnesses”).

       Here, for the reasons set forth in our moving papers and in this submission, the record

compels the conclusion that a hearing is needed to allow the defense to establish that Hickey

testified falsely, and that the government was aware or should have been aware of that falsity.

Moreover, given the undisputed centrality of Hickey’s testimony to the government’s case, the

materiality standard – should such falsity be established – would be easily satisfied as well. Indeed,

the government makes no effort to even suggest otherwise.

       Accordingly, the Court should grant the defense’s request for an evidentiary hearing, so

that the Court can rule on the motion for a new trial on a full and complete record, and thereby

ensure that justice is done in this case, in accordance with controlling law.

                                               III.

       THE BURDEN WAS NOT ON THE DEFENSE TO “CORRECT” HICKEY’S
               TESTIMONY BY CALLING GOVERNMENT WITNESSES

       Not only is the government’s response to the defense’s request for a hearing inadequate,

but in a classic example of deflection, it attempts to turn the issue on its head by placing the burden

of having “corrected” Hickey’s trial testimony on the defense. Indeed, the government argues that

the defense had a full opportunity to cross-examine Hickey at trial, and that if it believed Hickey

had testified falsely about what he had previously told the government, it should have called

government agents as witnesses at trial. The government goes so far as to argue that if the defense

is correct that Hickey's testimony was false, then calling these government witnesses would have



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been “powerful evidence that Hickey was lying.” Opp. Br. at 21. This argument misses the point

entirely, for four principal reasons.

       First, to the extent that the government was aware that Hickey testified falsely about

anything, it had the affirmative obligation to disclose that fact to the defense, and could not sit on

its hands and effectively “dare” the defense to call witnesses blind, in order to prove the falsity.

The law makes that obligation clear. Napue v. Illinois, 360 U.S. 264, 269 (1959) (holding that due

process prohibits the government from obtaining a conviction by intentionally allowing false

testimony to go uncorrected); Perkins v. LeFevre, 642 F.2d 37, 40 (2d Cir. 1981) (“Due process

requires not only that the prosecutor avoid soliciting false testimony, but that he not conceal it, and

that he not allow it to go uncorrected when it has occurred.”).

       Second, to the extent that the government was aware of any falsity (as appears to have been

the case), it affirmatively misled the defense by stating, in response to the defense’s specific

requests on this subject (by e-mail during Hickey’s testimony, by e-mail after Hickey’s testimony,

and by a telephone call on the night before the defense rested), that there was no Brady/Giglio

material to disclose. See Krantz Aff. ¶ 15. If that response was false (as appears to have been the

case), then the government can hardly foist the burden of calling witnesses onto the defense, since

it misled the defense for the purpose of avoiding that very scenario. Surely, the government cannot

mislead the defense counsel by failing to disclose Brady/Giglio material, thereby improperly

tainting the defense’s decision-making process in deciding whether to call defense witnesses, and

then profit from its own wrongdoing.

       Third, for the defense to have effectively explored the truthfulness of Hickey’s testimony

on each of these contested points, one of the most significant witnesses to call would have been

the AUSA who: (1) was present for every in-person interview with Hickey; (2) prepared him for




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his testimony at trial; (3) presented his testimony at trial; (4) advised the defense for years that

Hickey had not had hallucinations (and that this was a false allegation made up by Burke); (5)

advised defense counsel by phone and by confirming e-mail that she had addressed the subject of

any post-hospitalization treatment directly with Hickey, and that he was “prepared to testify under

oath” that he had seen no medical professionals (except perhaps an eye doctor) subsequent to his

hospitalization in October 20153; and (6) advised the defense, in resisting disclosure, that Hickey’s

2015 hospitalization “was not related to a mental health issue.” See Krantz Aff. ¶¶ 16-36.

Obviously, the defense was not in a position to call the AUSA as a witness at trial, given her role

as one of the trial prosecutors. Of course, this problem does not apply to a post-trial evidentiary

hearing.

       Fourth, the suggestion that the defendants are not entitled to post-trial relief because they

had a full opportunity to cross-examine Hickey at trial is illogical. If effective cross-examination

was thwarted by the government’s failure to disclose that Hickey had testified falsely, then the

defendants’ confrontation and due process rights were plainly violated. The government may not

come back now and say “you had your opportunity,” if it was an opportunity that was tainted due

to the government’s failure to disclose the falsity of Hickey’s testimony.

       In other words, the government may not sit idly by while it watches its star witness perjure

himself on the stand. Nor can it shift the burden onto the defense to uncover that fact, especially


3
        While the government now claims that this was in fact “their error,” and that Hickey should
not be held accountable for “the government’s erroneous representations,” Opp. Br. at 8, this
position seems irreconcilable with the specificity of defense counsel’s conversation with the
government, the specificity of the e-mail confirmation, and the fact that the AUSA expressly
referred to the possible exception of a visit to an “eye doctor.” If, as the government now claims,
the question it had posed to Hickey was whether he had seen a “psychiatrist,” id., this carve-out
would be nonsensical. And while we are loath to challenge the veracity of an AUSA, the facts
compel the conclusion that the defense is at least entitled to a hearing, so that the full circumstances
of this alleged “error” can be fully explored.



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when it misleads the defense into thinking that the witness’s testimony was entirely true. Simply

put, if Hickey lied, and the government knew or should have known it, then the defendants are

entitled to a new trial, regardless of who they could have called to testify. Accordingly, a hearing

is plainly required in order to shine the light of day on the facts, and to allow the defense a full and

fair opportunity to establish its claims.

                                                  IV.

    THE GOVERNMENT’S STATEMENT OF THE APPLICABLE LEGAL STANDARDS
                         IS INAPPOSITE AND WRONG

        The government’s final attempt to stave off a hearing and a new trial is based on a recitation

of law that ignores and misstates the applicable legal standards.

        First, the government essentially treats the motion as one for a new trial based on the

argument – never raised by the defense – that the Court should engage in a wholesale revisiting of

the credibility of Hickey’s testimony, and reject it. The government then rebuts that argument by

citing case law as to the high standard that the defense must meet for a new trial on witness

credibility grounds. It relies on the deference that must ordinarily be given to the jury’s credibility

determinations, and argues that the defense has failed to prove that Hickey’s testimony was

“patently incredible or [defied] physical realities.” Opp Br. at 15.

        Of course, the defense has not moved on these grounds. It has not asked the Court to

engage in a wholesale revisiting of Hickey’s credibility and has not argued that Hickey’s testimony

was “patently incredible” or “defying of physical realities.” Thus, this argument is simply a red

herring.4



4
        In support of its argument that the Court owes deference to the jury’s evident finding that
Hickey was credible, the government relies primarily on the Second Circuit’s decision in United
States v. Sanchez, 969 F.2d 1409 (2d Cir. 1992). E.g., Opp. Br. at 2, 15, 16, 19-20. The decision



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        Second, while relying on inapposite legal standards, the government ignores the applicable

law that does govern the defense’s claims here. Specifically, while the government erroneously

suggests that the defense must establish that Hickey’s testimony was “patently incredible” or

otherwise worthy of the Court’s wholesale rejection, it is well settled that Rule 33 relief “is not

tethered to any particular deficiency.” Feng Ling Liu, 2015 U.S. Dist. LEXIS 94899, at *20. The

government’s knowing use of, or failure to correct perjured testimony is plainly another

exceptional circumstance justifying Rule 33 relief. See Shih Wei Su v. Filion, 335 F.3d 119, 126

(2d Cir. 2003) (“Since at least 1935, it has been the established law of the United States that a

conviction obtained through testimony the prosecutor knows to be false is repugnant to the

Constitution”) (citing Mooney v. Holohan, 294 U.S. 103, 112 (1935)); United States v. Cromitie,

727 F.3d 194, 221 (2d Cir. 2013) (“A conviction obtained by the knowing use of perjured

testimony is fundamentally unfair”); Sanders v. Sullivan, 900 F.2d 601, 607 (2d Cir. 1990) (“Few

rules are more central to an accurate determination of innocence or guilt than the requirement . . .

that one should not be convicted on false testimony”) (internal quotations and citations omitted).

Indeed, a multitude of cases establish that this is, in fact, not only a basis for Rule 33 relief, but a

“virtually automatic” one, as the Second Circuit stated in the leading decision in this area, United



in Sanchez, however, did not involve any allegation of government misconduct, and so is wholly
inapposite to the instant motion. Id. at 1411, 1414 (where the “district court specifically declined
to reach the issue” of the government’s alleged knowing use of perjured testimony and the Second
Circuit noted that “[t]here is nothing in the record before us in this case to indicate that the
prosecutor knowingly used false testimony to convict [the defendant]”); see United States v. Feng
Ling Liu, No. 12-CR-934-01 (RA), 2015 U.S. Dist. LEXIS 94899, at *20 (S.D.N.Y. July 20, 2015),
aff’d on other grounds sub nom. United States v. Bandrich, 636 F. App’x 65 (2d Cir. 2016) (noting
that Rule 33 “claims of specific deficiencies have specific tests”). The government’s reliance on
United States v. Truman, 688 F.3d 129 (2d Cir. 2012), is similarly misplaced. Opp. Br. at 20.
Truman did not involve any perjury allegation, let alone any claim that the government knew or
should have known of the perjury. Thus, the Rule 33 motion there was governed by an entirely
different legal standard. See Feng Ling Liu, supra.




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States v. Wallach, 935 F.2d 445, 456 (2d Cir. 1991).5 See also Alvarez, 808 F. Supp. at 1083 (the

Wallach-dictated result in the event of knowing use of perjury “follows from the well-established

principle that knowing use of perjured testimony violates the due process clause of the Fourteenth

Amendment”) (citations omitted).

        Moreover, the government’s discussion of Wallach skates around the government

misconduct issue. In fact, it ignores altogether the decision’s controlling legal holding, namely

that:

               Where the prosecution knew or should have known of the perjury,
               the conviction must be set aside if there is any reasonable likelihood
               that the false testimony could have affected the judgment of the jury.
               Indeed, if it is established that the government knowingly permitted
               the introduction of false testimony reversal is virtually automatic.
               Where the government was unaware of a witness’ perjury, however,
               a new trial is warranted only if the testimony was material and the


5
          See also Fernandez v. Capra, 916 F.3d 215, 230 (2d Cir. 2019) (“As to materiality, [the
defendant] is entitled to a new trial if there is any reasonable likelihood that the false testimony
could have affected the judgment of the jury. Indeed, if it is established that the government
knowingly permitted the introduction of false testimony reversal is virtually automatic.”) (internal
quotation marks omitted) (citing, in part, Wallach, 935 F.2d at 456); United States v. Surgent, No.
04-CR-0364 (JG), 2006 U.S. Dist. LEXIS 62698, at *9 (E.D.N.Y. Sept. 1, 2006) (“a less
demanding standard has been held to apply in two types of cases: where the prosecution has
suppressed or failed to disclose the evidence in question; and when a government witness has
committed perjury and the government knew or should have known of it. In such cases, motions
for a new trial are analyzed pursuant to a more lenient ‘possibility’ test, under which reversal is
virtually automatic”) (internal citations omitted); Reyes v. Ercole, No. 06-cv-5525 (SHS), 2018
U.S. Dist. LEXIS 51595, at *11, *37 (S.D.N.Y. Mar. 26, 2018), aff’d, 785 F. App’x 26 (2d Cir.
2019) (in reference to the standard that a conviction must be set aside if there was a “reasonable
likelihood” that the false testimony could have affected the judgment of the jury, stating that “the
‘could have’ materiality bar is so low that it has been said to make relief ‘virtually automatic’ upon
a showing that the prosecution knowingly used perjury at trial. This is because ‘once it is shown
that a material witness has intentionally lied with respect to any matter, it is difficult to deny that
the jury, had it known of the lie, ‘might have acquitted’”) (citing Wallach and quoting United
States v. Stofsky, 527 F.2d 237, 246 (2d Cir. 1975))); Alvarez v. United States, 808 F. Supp. 1066,
1083 (S.D.N.Y. 1992) (“[defendant] claims that [the witness] lied about several other subjects at
trial, that the government knew it at the time, and that the government remained silent. If these
claims are correct, then the conviction is on precarious ground. As the Second Circuit has held,
‘if it is established that the government knowingly permitted the introduction of false testimony
reversal is virtually automatic”) (quoting Wallach, 935 F.2d at 456).


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               court [is left] with a firm belief that but for the perjured testimony,
               the defendant would most likely not have been convicted.

935 F.2d at 456 (internal quotations and citations omitted).

       This above-quoted language from Wallach – while ignored by the government – is plainly

the applicable legal standard for adjudicating the defense’s Rule 33 motion. Under this standard,

if the defense can establish that the government elicited (or allowed to stand uncorrected)

testimony from Hickey that it knew or should have known was false, a new trial is required “if

there is any reasonable likelihood that the false testimony could have affected the judgment of the

jury.” Id. Surely, given the allegations of falsity here – relating to critical accusations from the

government’s star witness – that standard can easily be met.

       Third, to the extent that the government refers at all to the standard governing claims of

perjury, it misstates the burden on the defense. Specifically, the government claims that “even

where courts in this Circuit have clearly identified perjured testimony, they have refused to grant

a new trial unless the court could find that the jury ‘probably would have acquitted in the absence

of the false testimony.’ United States v. McCourty, 562 F.3d 458, 476 (2d Cir. 2009) (quoting

Sanchez, 969 F.2d at 1413-15 (refusing to grant a new trial under Rule 33 on the basis of perjured

testimony because ‘it could not be said that the jury probably would have acquitted in the absence

of the false testimony”)) (emphasis added). Opp. Br. at 15.6 As is made clear from the language

of Wallach quoted above, however, this higher standard – requiring a showing that the jury would

“probably” have acquitted in the absence of the false testimony – applies only in the event that the


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        While relying on the above sentence from Sanchez to its advantage, the government ignores
the immediately subsequent sentence in Sanchez wherein the Second Circuit, consistent with
Wallach, confirmed the lesser burden in cases where the government knew or should have known
of the alleged perjury – language that is squarely applicable to Mr. McPartland’s claim. Sanchez,
969 F.2d at 1413-14 (citations omitted).




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government was “unaware of a witness’s perjury,” which is not the allegation here. The cases

confirming this distinction are legion.7 Thus the government’s argument that the defense must

show that the result would “probably” have been different is flatly wrong.

       Fourth, while the government tries to distinguish Wallach factually, the reality is that, in

numerous respects, the factual record giving rise to a new trial in Wallach was actually weaker

than the record here. Specifically, (1) Hickey’s alleged perjury as to the February 2013 “coaching”

meeting goes to the very heart of the indictment’s allegations, whereas the perjury in Wallach

concerned a collateral issue; (2) the government here was an eyewitness to certain of the facts as

to which Hickey allegedly testified falsely (e.g., what he told the government and when), whereas

in Wallach that was not the case; and (3) unlike the witness in Wallach, Hickey had previously

perjured himself under oath (in addition to having told demonstrable lies as to other matters), and



7
         Courts in the Second Circuit have cited time and time again this less stringent standard for
relief (alternatively cast as “might have,” “could have,” “possibly” or “any reasonable likelihood”)
where government misconduct is involved. See supra note 3 and also United States v. Gambino,
59 F.3d 353, 365 (2d Cir. 1995) (“When the prosecution knowingly makes use of perjured
testimony, the standard for materiality is reduced to a showing of ‘any reasonable likelihood that
the false testimony could have affected the judgment of the jury’”) (emphasis added) (citations
omitted); United States v. Wallach (“Wallach II”), 979 F.2d 912, 914 (2d Cir. 1992) (“We reversed
[in Wallach I], applying the standard that where the prosecution knew or should have known of
the perjury, the conviction must be set aside if there is any reasonable likelihood that the false
testimony could have affected the judgment of the jury . . . From the opinion in Wallach I, it is
evident that the prior panel was not applying the Sanders ‘but for’ test in its traditional sense of
meaning that, without the false testimony, a conviction would most likely not have resulted”)
(internal quotations and citations omitted); United States v. D’Angelo, No. 02-CR-399 (JG), 2004
U.S. Dist. LEXIS 2239, at *95 (E.D.N.Y. Feb. 18, 2004) (“where new evidence comes to light that
establishes perjury by government witnesses, a more favorable standard might apply depending
on the materiality of the perjury to the jury’s verdict and the extent to which the prosecution was
aware of the perjury”) (internal quotation marks omitted) (citing United States v. Gallego, 191
F.3d 156, 161-62 (2d Cir. 1999) (quoting Wallach); United States v. Biaggi, 823 F. Supp. 1151,
1156 (S.D.N.Y. 1993) (“If the Government either knew or should have known that the witness
was perjuring himself, a new trial must be granted if the new evidence might have altered the jury’s
verdict. The test is whether there is any reasonable likelihood that the false testimony would have
affected the judgment of the jury.”) (citing Sanders, 863 F.2d at 225, Wallach, 935 F.2d at 456,
and Wallach II at 914).


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so the government was surely on notice that additional perjury was within the realm of possibility.

Accordingly, the government’s attempt to distinguish Wallach is unavailing.

       Fifth and finally, the government is wrong in suggesting that the lack of newly discovered

evidence is grounds for denial of this motion. Opp. Br. at 17. Indeed, that suggestion flies directly

in the face of the plain language of Rule 33, which explicitly provides an avenue for relief wholly

separate and distinct from the discovery of new evidence. See Fed. R. Crim. P. 33(b) (“Any motion

for a new trial grounded on newly discovered evidence must be filed within 3 years after the verdict

or finding of guilty … Any motion for a new trial grounded on any reason other than newly

discovered evidence must be filed within 14 days after the verdict or finding of guilty.”) (emphasis

added). Moreover, the principle that a criminal conviction cannot stand if the defense can show,

post-trial, that the government sat idly by and watched its witness testify to facts it knew or should

have known to be false is well-established, and requires no demonstration of “newly discovered”

evidence. See, e.g., N. Mariana Islands v. Bowie, 243 F.3d 1109, 1117-18 (9th Cir. 2001)

(collecting Supreme Court authority on the obligation of the prosecutor to correct any testimony it

knows to be false, and reversing and remanding for a new trial where information that was known

to the government, prior to trial, should have alerted it to the possible falsity of its witness’s

testimony; the court concluded that the “record emits clear overtones of the Machiavellian maxim:

‘the end justifies the means,’ an idea that is plainly incompatible with our constitutional concept

of ordered liberty”).

                                          CONCLUSION

       The defense has plainly established its entitlement to an evidentiary hearing on its Rule 33

motion for purposes of developing the factual record on the critical questions raised by the

application. Only at such a hearing can the proper light be shed on what transpired here, and can




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the defendants be given a full and fair opportunity to establish that Hickey testified falsely in

certain critical respects, that the government knew or should have known of that falsity, and that

the government failed to correct or disclose that falsity. If those facts are established, we

respectfully submit that Mr. McPartland will be entitled to a new trial, both under the case law set

forth above, and because the verdict in the case would plainly represent a “manifest injustice.”8



                                                     Respectfully submitted,

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8
       To the extent that government claims – in one conclusory sentence – that “there is
overwhelming evidence in the record that corroborates significant parts of Hickey’s testimony,”
Opp. Br. at 20, that is no answer to this motion. Whatever can be said about the supposed
“corroboration” relied on by the government at trial, it is beyond dispute that this purported
“corroboration” in no way supports Hickey’s testimony as to any of the issues set forth in this
motion. As to those issues, corroboration is sorely lacking.



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